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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE




United States of America

    v.                               Criminal No. 09-cr-187-015-JL

Tameka Perkins


                                   O R D E R


    On January 14, 2013, defendant appeared for a preliminary

hearing/probable cause hearing under Fed. R. Crim. P. 32.1 on

two alleged violations of conditions of supervision, as charged

in the government's petition dated January 8, 2013 (doc. no.

712).    Defendant is on release from her convictions in 2012 for

conspiracy to possess with intent to distribute and to

distribute Oxycodone, Oxycontin, Suboxone, Lorezpam, and Ativan,

in violation of 21 U.S.C. §§ 846 and 841(a)(1).

    Defendant stipulated to probable cause on the violations.

I therefore find probable cause that defendant has violated the

conditions as charged in the petition.

    Defendant sought bail conditions under Rule 32.1(a)(6). The

government sought detention.         Under Rule 32.1(a)(6), defendant

bears the burden of establishing by clear and convincing
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evidence that she will not flee and that she poses no danger to

any other person or to the community.        At the hearing, the court

summarized its findings orally from the bench.           Those oral

findings are incorporated herein.       Based on the evidence

presented at the hearing, and for the reasons stated on the

record, defendant has failed to meet her burden of persuading

the court that she poses no danger to any other person or to the

community.   Accordingly, it is ORDERED that the defendant be

detained pending a final revocation hearing.

    The defendant is ordered to self-surrender to the Strafford

County House of Corrections no later than 8:00 p.m., on January

14, 2013, into the custody of the Attorney General or his

designated representative for confinement in a corrections

facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending

appeal.   The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                 On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United




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States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.


                                     _______________________________
                                     Landya B. McCafferty
                                     United States Magistrate Judge

Date:    January 15, 2013

cc:   Theodore M. Lothstein, Esq.
      Jennifer C. David, Esq.
      Donald A. Feith, Esq.
      Seth R. Aframe, Esq.
      U.S. Marshal
      U.S. Probation




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